                                                            EXHIBIT
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                                                                              C
                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

JOHN JOHNSON                                       §     CIVIL ACTION NO.
                                                   §
               Plaintiff,                          §
                                                   §     DISTRICT JUDGE
VS.                                                §
                                                   §
NOBLE DRILLING (US), LLC,                          §     MAGISTRATE
ET AL.                                             §
                                                   §
               Defendants.                         §


                              CONSENT TO NOTICE OF REMOVAL

       Defendants, Noble Drilling (U.S.), LLC, Noble Drilling Services, LLC (f/k/a Noble

Drilling Services, Inc.), Noble Corporation, and Noble Drilling Holding, LLC., without waiving

and specifically reserving all rights, defenses, objections, and exceptions, hereby give notice that

they consent to and join in the Notice of Removal filed by Defendants Shell Offshore Inc. and

Shell Oil Company.


Dated: September 7, 2022


                                                 Respectfully submitted,


                                                 /s/ Timothy W. Strickland
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Drilling Services, Inc.), Noble Corporation,
and Noble Drilling Holding, LLC




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